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                                                                                          FTP, - 1 2024
                         IN THE UNITED STATES DISTRICT COURT
                                               for the                             CLE.TkU.-S. I)13'1 i ,’iCT CO'J’^T
                                    Eastern District of Virginia                           NOr.FO’-K. VA
                                      Newport News Division

UNITED STATES OF AMERICA                                 )
                                                         )
V.                                                       )             Case No. 4:24-mj-3
                                                         )
FENGYUN SHI                                              )
                                                         )
                Defendant.                               )

     ORDER ON DEFENDANT’S MOTION TO AMEND CONDITIONS OF RELEASE

        This matter came before tliis court on DefendantFENGYUNSHFs Motion to Amend

Conditions of Release.


        It appearing that this court has jurisdiction to hear and detemiine this matter, that each

party entitle to notice has been notified;

       After determining that the facts presented by both parties, and upon consideration of the

papers and proceedings, it is therefore,

        Ordered that


        Defendant’s motion is hereby GRANTED. Defendant is allowed to move to the address

of 800 John Carlyle Si, Alexandria, VA 22314.

        IT IS SO ORDERED.


       SIGNED this        ''1

                                                                                  K
                                                             Lawrence R. Leonard
                                                             United States Magistrate Judge
                                                               United States Magistrate Judge




                                                  I
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                                             Respectfully submitted,


                                             /s/ Shaoming Cheng
                                             By: Shaoming Cheng
                                             VABar# 80218
                                             Cheng Yun Law PLLC
                                             6088 Franconia Road Ste D
                                             Alexandria, VA 22310
                                             Tel: (703) 887-6786
                                             Fax: (888)510-6158
                                             Email: jcheng@chengyunlaw.com
                                             Counselfor Defendant




Dated: February 6,2024




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                                CERTIFICATE OF SERVICE


       THIS IS TO CERTIFY that on 2/6/2024, a copy of the foregoing document was served via
email and mail to U.S. Attorney at

Peter Osyf, Esq.
U.S. Attorney’s Office
Eastern District of Virginia
One City Center
11815 Fountain Way, Suite 200
Newport News, VA 23606
Email: peter.osyf@usdoj.gov

                                                        /s/ Shaoming Cheng
                                                        By; Shaoming Cheng




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